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                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :

        v.                                    :              NO. 20-CR-210

MICHAEL "OZZIE" MYERS"                        :

                   GOVERNMENT’S UNOPPOSED MOTION FOR A
               WRITTEN JURY QUESTIONNAIRE REGARDING COVID-19

        The United States of America, by its attorneys, Jennifer Arbittier Williams, United States

Attorney for the Eastern District of Pennsylvania, and the undersigned counsel, respectfully

proposes issuing a written questionnaire to prospective jurors in addition to conducting the

regular in-person oral voir dire process on the day of trial. There are several advantages to

using a written questionnaire in advance of bringing prospective jurors to the courtroom for jury

selection in this case. The answers to the questions may identify persons who should not or

cannot participate as jurors in the trial for reasons related to the pandemic. Using the written

answers to narrow the number of prospective jurors brought to the courtroom for in-person voir

dire may aid the process of impaneling an impartial jury under the circumstances of this case.

Reducing the number of prospective jurors brought to the courtroom through the screening

process afforded by questionnaires may serve an ancillary purpose – alleviating concerns about

large, indoor concentrations of persons during the pandemic. Defense counsel does not object

to this request.

I.      INTRODUCTION

        In this case, former U.S. Congressman Michael “Ozzie” Myers is charged by Indictment


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with conspiring to violate voting rights by fraudulently stuffing the ballot boxes in multiple

elections in Philadelphia’s 39th Ward for specific political candidates, bribery of an election

official, falsification of records, voting more than once in federal elections, and obstruction of

justice. Presently, trial is scheduled for June 7, 2022.

II.    A JURY QUESTIONNAIRE WILL BENEFIT THE ADMINISTRATION OF
       JUSTICE IN THIS CASE BY MORE EFFICIENTLY AND EFFECTIVELY
       IDENTIFYING COVID-19 PANDEMIC RELATED ISSUES FOR PROSPECTIVE
       JURORS

       A. Written Jury Questionnaires Offer Advantages Over Oral Voir Dire Alone

       Federal Rule of Criminal Procedure 24 vests in district courts broad discretion to control

the nature and extent of the examination of potential jurors. Fed. R. Crim. P. 24; see Mu’Min,

500 U.S. at 424. This discretion extends to the decision to submit a jury questionnaire to

prospective jurors prior to trial. See United States v. Martinez-Salazar, 528 U.S. 304, 308

(2000) (“Prior to jury selection, the District Court gave the prospective jurors a written

questionnaire.”).

       A written jury questionnaire is beneficial because of the ongoing COVID-19 pandemic.

In these pandemic circumstances, oral voir dire alone is likely to fall short. Simply asking

jurors publicly, in an open voir dire setting, about this topic may do little to avoid potential

difficulties related to COVID-19. Answers provided on the questionnaire may by themselves

identify prospective jurors who should be stricken for cause, obviating the need for those

individuals to appear in the courthouse for in-person screening during the oral voir dire.

Eliminating those prospective jurors early can reduce concerns about large, indoor

concentrations of persons during the pandemic. The government has consulted with defense

counsel, who have no objection to the use of the attached proposed written questionnaire and

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believe it would be quite useful.

III.   CONCLUSION

       To ensure that the jury empaneled for the trial of this matter will be fair, impartial, and

able to serve safely, the United States respectfully asks this Court to consider using the attached

written jury questionnaire directed exclusively at COVID-19. The government also respectfully

requests a discussion on this motion at the final pretrial conference.

                                                      Respectfully submitted,

                                                      JENNIFER ARBITTIER WILLIAMS
                                                      United States Attorney

                                              By:

                                                      /s Eric L. Gibson
                                                      ERIC L. GIBSON
                                                      RICHARD P. BARRETT
                                                      Assistant United States Attorneys


Dated: May 23, 2022




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Government’s Unopposed Motion for a

Written Jury Questionnaire Regarding COVID-19 has been served upon all counsel of record

electronically and via ECF.



                                           /s Eric L. Gibson
                                           ERIC L. GIBSON
                                           Assistant United States Attorney


Dated: May 23, 2022




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